     Case 2:18-cv-04311-SJO-AGR Document 24 Filed 11/27/18 Page 1 of 1 Page ID #:114
                                                                                   JS-6



1
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
2

3     EDDIE CRESSY, individually and              ) Case No.
                                                                        November 27, 2018
      on behalf of all others similarly situated, )
4
                                                  )                         VPC
5     Plaintiff,                                  )
6
                                                  )   2:18-cv-04311-SJO-AGR
      vs.                                         )
7                                                 ) ___________
                                                      Proposed Order to dismiss
8     SEPTIC MAXX LLC;                            )
      SEPTIC SAVIOR, LLC; and DOES 1 )
9
      through 10, inclusive, and each of them, )
10                                                )
      Defendants.                                 )
11
                                                  )
12

13
            IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
14
      this matter is dismissed in its entirety, with prejudice as to the named Plaintiff,
15
      and without prejudice as to the Putative Class alleged in the complaint, pursuant
16
      to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their
17
      own costs and attorneys’ fees.
                                                                        11/27/18
18                                                Dated this ____________________
19

20

21                                                 _______________________________
                                                    Honorable Judge of the District Court
22

23

24

25

26

27

28




                                       [Proposed]Order to Dismiss - 1
